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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
United States of America                                             CASE NUMBER

                                                                                    2:21-cv-07463 CAS(JCx))
                                                     PLAINTIFF(S)
                               v.
570,000.00 in U.S. Currency                                                  ORDER RE TRANSFER PURSUANT
                                                                               TO GENERAL ORDER 21-01
                                                                                   (RELATED CASES)
                                                    DEFENDANT(S).

                                                             CONSENT

      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 21-01.

                October 19, 2021                                    R. Gary Klausner
                     Date                                           United States District Judge

                                                          DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                          United States District Judge

                                REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case 2:21-cv-03254 RGK(MARx) and the present case:

 ✔    A.         Arise from the same or closely related transactions, happenings or events; or
 ✔    B.         Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.         For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.         Involve one or more defendants from the criminal case in common, and would entail substantial
                 duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                              NOTICE TO COUNSEL FROM CLERK
            Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                    Chooljian            to Magistrate Judge              Rocconi           .

            On all documents subsequently filed in this case, please substitute the initials RGK(MARx) after the case number
in place of the initials of the prior judge, so that the case number will read 2:21-cv-07463 RGK(MARx) . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge        Statistics Clerk
CV-34 (03/21)                    ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 21-01 (Related Cases)
